 

GRIGEINA 5-G-BN Document3 Filed 11/20/20 Page 1of11 PagelD5
THE UNITED STATES DISTRICT COURT. or 5 sja74: pt caus

FOR THE NORTHERN DISTRICT OF TEXAS"! ** "

DALLAS DIVISION rie
SAMUEL E. GRIFFITH § 2S2b NOY 20 AMI: 26
§ CIVIL ACTION NO:
Plaintiff, § Ce a
§
v. § <2
§
CINEPOLIS USA, INC., BRINKER § 3~ o¢ 7
INTERNATIONAL, INC., ET AL §
Defendants. §
§

PLAINTIFF'S COMPLAINT AND JURY DEMAND

 

Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure Defendant Samuel E.
Griffith, pro se now files this Complaint and Jury Demand against Defendants Cinepolis
USA, Inc. (Cinepolis), and Brinker International, Inc. (Brinker), (collectively,
"Defendants"). This is an action under Title VII of the Civil Rights Act of 1964, as
amended, and Title I of the Civil Rights Act of 1991 to correct unlawful employment
practices on the basis of race, African American and retaliation by agents and supervisors
of Defendants. This is being brought to provide appropriate relief to Samuel E. Griffith who
was adversely affected by such practices and actions of Defendants by and through its
agents and supervisors. Plaintiff states as follows in support:
PARTIES
1. The Plaintiff is Samuel E. Griffith (Plaintiff) who is a United States citizen and a
resident of the State of Texas.
2. The Defendant Cinepolis USA, Inc. (Cinepolis), is a corporation who operates a dine-
in movie theater within the boundaries of Dallas County, with principal executive
offices at, 14951 Dallas Parkway 300 Dallas, TX, 75254 ,where Plaintiff allege claims

arising under the laws of the United States.

PLAINTIFF’S ORIGINAL PETITION - PAGE 1
 

Case 3:20-cv-03455-G-BN Document3 Filed 11/20/20 Page2of11 PagelID6é
3. Defendant, Brinker International, Inc., is a corporation formed and incorporated in the

State of Delaware with principal executive offices at 3000 Olympus Boulevard Dallas,
TX, 75019.
JURISDICTION AND VENUE

4. This Court has subject matter jurisdiction in this case pursuant to 28 U.S.C. § 1331
because Plaintiff allege claims arising under the laws of the United States. This Court
also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because the parties
are diverse and the amount in controversy exceeds $75,000. This Court has personal
jurisdiction over the Defendants because they continuously do business within the State
of Texas.

5. Moreover, as set forth below Plaintiff has exhausted all administrative remedies with

Respect to his discrimination claims under Title VII of the Civil Rights Act of 1964, as

amended.

6. The employment practices alleged to be unlawful were committed within the
jurisdiction of the United States District Court for the Northern District of Texas, Dallas
Division.

FACTS
7. Plaintiff was employed by Defendant Cinepolis USA, Inc.as an Assistant General Manager

(AGM). He held that position from June 22, 2019 to August 6, 2020 prior to his

constructive discharge on August 7, 2020.

8. Plaintiff was employed by defendant Brinker International, Inc. from February 26, 2013

until September 10, 2018.

9. On July 20, 2020 Plaintiff was accused of misconduct by Jessica Sanchez, Interim General

Manager (IGM) Cinepolis — Victory Park, of alleged deficiencies in performance on the

company’s Teams communication platform.

PLAINTIFF’S ORIGINAL PETITION - PAGE 2

 
 

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The message alleged that the plaintiff lacked integrity and was dishonest regarding
preventive maintenance on movie projectors at the Victory Park location.

On August 4, 2020 Plaintiff addressed the disparagement with Jessica Sanchez (IGM) and
Jeremy Hilburn (GM).

At the meeting, Jessica Sanchez alleged that the previous General Manager, an African
American, had falsified maintenance and that I was doing the same.

She also affirmed her beliefs by saying she had never worked with me before and her past
experiences warranted the distrust.

As proof, Jessica alleged that the maintenance was noted as being completed on the same
day, but it was impossible to do so because there were eight projectors and the maintenance
required 3 hours to perform.

On August 6, 2020 Plaintiff was informed by Barrett Cox, Regional Manager (RM) of a
demotion to go into effect prior to opening the following week on August 14, 2020.

The Assistant General Manager (AGM) position for Cinepolis — Victory Park would be
filled by Jamit Vashee. This was the position for which I was hired.

Plaintiff was offered a Service Manager position at Cinepolis - Victory Park.

The service manager position would be a non-exempt position and would require the
signing of a Return to Work Letter (RWL).

On August 7, 2020 Plaintiff informed Jeremy Hilburn, GM, that he could not accept the
position of service manager and would resign.

On August 9, 2020 Plaintiff learned from Barrett Cox the Regional Manager (RM) that he
was aware of the meeting on August 4, 2020 between Plaintiff, Jessica Sanchez (IGM) and
Jeremy Hilburn (GM).

On August 9, 2020 Plaintiff informed Barrett Cox (RM) that he could not accept the
position and because of the proximity of the conversation on August 4 and the decision to

demote the Plaintiff on August 6, 2020 that he believed that they were related.

PLAINTIFF’S ORIGINAL PETITION - PAGE 3

 
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On August 15, 2020, Plaintiff filed a complaint with the EEOC alleging disparate treatment
by Cinepolis USA, Inc.
On September 22, 2020, EEOC provided a right to sue letter to Plaintiff.
Prior to the events of 2020, around July of 2019, Jamit Vashee was as a service manager
for Movie House & Eatery McKinney.
He was subsequently promoted to AGM upon his arrival to Cinepolis Victory Park around
February of 2020. This promotion created two positions of AGM at the Victory Park
location in March of 2020.
Prior to working for Cinepolis USA, Inc., during his time at Brinker International, Inc.
between 2013 and 2018, Plaintiff and Jamit Vashee worked as restaurant managers for
Brinker’s Brand, Chili’s Grapevine Mills and Chili’s Flower Mound, respectfully.
In March of 2019, after leaving employment of Brinker International, Inc., Plaintiff filed a
complaint with the EEOC regarding unlawful business practices by Brinker International,
Inc and lists a portion below:
a. Discipline Standard are biased and unfair and establishes a Desperate Impact
and Desperate Treatment of African Americans at Chili’s Bar and Grill.
b. The company’s policies for promotion and transfer are discriminatory and
violate Title VII of Civil Rights Act of 1964.
c. The company’s criteria for access to open positions violate Title VII of Civil
Rights Act of 1964.
d. The administration of these plans (discipline, promotion, transfer) violates Title
VII of Civil Rights Act of 1964.
e. The manager position and expectations violate the FLSA.
EXHAUSTION OF ADMINISTRATIVE REMEDIES
Plaintiff timely filed a charge of Discrimination and Retaliation with the EEOC on

September 15, 2020 within 180 days of the last discriminatory event.

PLAINTIFF’S ORIGINAL PETITION - PAGE 4
Case 3:20-cv-03455-G-BN Document3 Filed 11/20/20 Page5of11 PagelID9
29. This lawsuit was also filed within ninety days of Plaintiff's receipt of a Notice of Dismissal

and Right to Sue Letter issued by the EEOC on September 22, 2020.

30. Thus, Plaintiff has exhausted his administrative remedies and this suit has been timely filed
under Title VII of the Civil Rights Act of 1964, as amended and Title I of the Civil Rights
Act of 1991.

FIRST CAUSE OF ACTION- DISCRIMINATION

31. During his employment, Defendants’, in concert and separately, discriminated against
Plaintiff based on his race, African American through actions of Defendants’ agents and
supervisors.

32. Cinepolis USA, Inc. unfairly compensated the Plaintiff regarding salary and benefits
compared to Jamit Vashee who held the same position.

33. Cinepolis USA, Inc. unfairly disciplined the Plaintiff in violation of company’s
employment handbook in January of 2020.

34. Cinepolis USA unfairly demoted the Plaintiff to a subordinate position.

35. Brinker International, Inc. unfairly harassed the Plaintiff by providing false information to
Cinepolis USA and as a result of protected actions taken by Plaintiff. This harassment was
on going and continued between 2018 and 2020.

36. Plaintiff's race was a motivating factor in treatment of Plaintiff or actions described in
paragraph 13 through 16 above.

37. Such conduct violates Title VII of the Civil Rights Act of 1964, as amended.

38. Plaintiff has been damaged as a result of this conduct.

39. Defendants’ perpetrated this discrimination with malice and/or with reckless disregard for
Plaintiffs statutorily protected rights.

40. An award of exemplary damages is therefore appropriate.

SECOND CAUSE OF ACTION- DEFAMATION

PLAINTIFF’S ORIGINAL PETITION - PAGE 5
 

 

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On July 20, 2020 Plaintiff was accused of alleged deficiencies in performance by Jessica
Sanchez, Interim General Manager (IGM) on the company’s Teams platform.
The disparagement alleged that the plaintiff had falsified preventive maintenance on movie
projectors at the Victory Park location.
Brinker International, Inc. provided false information to Cinepolis USA, Inc. as a result
Plaintiff protected actions described in paragraph 27, above.
Plaintiff's race was a motivating factor in treatment of Plaintiff or actions described in
paragraph 13 through 18 above.
Such conduct violates Title VII of the Civil Rights Act of 1964, as amended.
Plaintiff has been damaged as a result of this conduct.
Defendants’ perpetrated this discrimination with malice and/or with reckless disregard for
Plaintiffs statutorily protected rights.
An award of exemplary damages is therefore appropriate.

THIRD CAUSE OF ACTION- RETALIATION
In 2018, Brinker International, Inc., provided Jamit Vashee with Plaintiff's personal
evaluations and performance reviews.
Between July 2019 and March 2020, Jamit Vashee provided that privileged information
described above to Barratt Cox.
Plaintiff's race was a motivating factor in treatment of Plaintiff or actions described in
paragraph 39 through 40 above.
Plaintiff's protected right to complaint was also a motivating factor in the actions of
Defendants’ described in paragraph 39 above
Such conduct violates Title VII of the Civil Rights Act of 1964, as amended.
Plaintiff has been damaged as a result of this conduct.
Defendants’ perpetrated this discrimination with malice and with reckless disregard for

Plaintiffs statutorily protected rights.

PLAINTIFF’S ORIGINAL PETITION - PAGE 6
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56. An award of exemplary damages is therefore appropriate.

JURY DEMAND
57. Plaintiff demands a trial by jury with respect to all claims that are so allowed.
PRAYER FOR RELIEF
58. Wherefore, the Plaintiff respectfully request that this Court:
A. Order Defendants to make whole Samuel E. Griffith by providing appropriate back
pay with prejudgment interest, in amounts of $1.33 million and other affirmative relief
necessary to eradicate the efforts of its unlawful employment practices, including but
not limited to front pay in lieu of reinstatement;
B. Order Defendants, to make whole Plaintiff, Samuel E. Griffith, by providing
compensation for past and future pecuniary losses resulting from the unlawful
employment practices described in paragraphs through above, including but not limited
to medical expenses and job search expenses, in amounts of $123,000;
C. Order Defendants, to make whole Samuel E. Griffith by providing compensation
for past and future non-pecuniary losses resulting from the unlawful employment
practices described in paragraphs 8, 9, 20, 21, 26, 28 and 29 above, including but not
limited to emotional pain, suffering, inconvenience, mental anguish, humiliation, loss
of enjoyment of life and other non-pecuniary losses, in amounts of 1.2 million dollars;
D. Order Defendant, to make whole Samuel E. Griffith and others similarly harmed
by paying punitive damages to Plaintiff, Samuel E. Griffith and others, for Defendants'
malicious and /or reckless conduct as described in paragraphs 8, 9, 20, 21, 26, 28 and
29 above in an amount $130,000;
E. Grant such further relief as the Court deems necessary and proper in the public
interest;

F. Award the Plaintiff, Samuel E. Griffith, pro se, his costs in this action;

PLAINTIFF’S ORIGINAL PETITION - PAGE 7

 
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G. Award Samuel E. Griffith reasonable attorney’s fees and his costs in this action;

and pre and post judgment interest at the maximum amount allowed by law.
Plaintiff, Samuel E. Griffith, reserves and reasserts his request for a jury trial on all questions of

fact raised by this complaint.

Respectfully submitted,

s/Samuel E. Griffith
Samuel E. Griffith

740 Cedar Leaf Circle
Lake Dallas, Texas 75065

sgriffy80@gmail.com
940-498-2568

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing instrument was served on
all counsel and parties of record by a manner authorized by Federal rule of Civil Procedure 5
(b)(2).

s/Samuel E. Griffith

Samuel E. Griffith

740 Cedar Leaf Circle

Lake Dallas, Texas 75065

sgriffy80@gmail.com
(940)498-2568

PLAINTIFF’S ORIGINAL PETITION - PAGE 8

 
 

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JS. 44. (Rev. 06/17) - TXND (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor rea the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

 

I. (a) PLAINTIFFS DEFENDANTS
Samuel E. Griffith Cinepolis USA, Inc.
Brinker International, Inc.
(b) County of Residence of First Listed Plaintiff | Denton County County of Residence of First Listed Defendant _ Dallas County. ‘

(EXCEPT IN U.S. PLAINTIFF CASES) (IN 4 S. PLA NTJRF CASES ONL fei i
NOTE: INLAND CONDEMNATIONC NOR

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(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known) NOV ? 0 2020
Samuel E. Griffith Unknown ;
740 Cedar Leaf Circle, Lake Dallas Texas 75065 |
CLERK US, DISTRICT COURT
II. BASIS OF JURISDICTION (Place an “x” in One Box Only) Il]. CITIZENSHIP OF PRINCIPA SL reine Bor yor Plainiff
(For Diversity Cases Only) and One Box for Defendant)
G1 US. Government 3° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State x1 © 1 Incorporated or Principal Place o4 4
of Business In This State
O 2 US. Government 0 4 Diversity Citizen of Another State a2 © 2 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a G3 O 3. Foreign Nation go6 O86
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFRITURW/PENALTY | BANKRUPTCY]  OTHERSTATUTES _]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure © 422 Appeal 28 USC 158 © 375 False Claims Act
© 120 Marine 0 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
© 130 Miller Act 0 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
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C1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical |__ PROPERTY RIGHTS J. 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
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Student Loans O 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) ©) 345 Marine Product Liability © 840 Trademark Corrupt Organizations
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of Veteran’s Benefits 0 350 Motor Vehicle © 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) © 490 Cable/Sat TV
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© 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations © 864 SSID Title XVI © 890 Other Statutory Actions
© 196 Franchise Injury © 385 Property Damage © 740 Railway Labor Act © 865 RSI (405(g)) O 891 Agricultural Acts
© 362 Personal Injury - Product Liability © 751 Family and Medical © 893 Environmental Matters
__ Medical Malpractice Leave Act 0) 895 Freedom of Information
L REAL PROPERTY CIVIL RIGHTS PRISON TITIONS _|© 790 Other Labor Litigation | FEDERAL TAX SUITS _| Act
© 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: © 791 Employee Retirement C870 Taxes (U.S. Plaintiff © 896 Arbitration
O 220 Foreclosure O 441 Voting © 463 Alien Detainee Income Security Act or Defendant) OG 899 Administrative Procedure
© 230 Rent Lease & Ejectment OX 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations © 530 General © 950 Constitutionality of
© 290 All Other Real Property © 445 Amer. w/Disabilities -] J 535 Death Penalty IMMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
© 446 Amer. w/Disabilities - | 540 Mandamus & Other {0 465 Other Immigration
Other © 550 Civil Rights Actions
© 448 Education © 555 Prison Condition
© 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
Title VII of Civil Rights Act of 1964 as amended

Brief description of cause:

Employment Discrimination

VI. CAUSE OF ACTION

 

 

 

 

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 1,300,000.00 JURY DEMAND: WM Yes ONo
VIII. RELATED CASE(S) __
IF ANY (See instructions):
JUDGE N/A/ / FY pgp __ DOCKET NUMBER NYA
DATE SIGNA’ F ATTO! Ol =
11/20/2020 CA eA
FOR OFFICE USE ONLY J / Vo"

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
 

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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern _ District of Texas

Samuel E. Griffith

 

Plaintiff

Vv Civil Action No.

CINEPOLIS USA, INC.,
BRINKER ITERNATIONAL,
INC., ET AL

Se aS SS aS

 

Defendant

SUMMONS IN A CIVIL ACTION

To:

Brinker International, Inc.
3000 Olympus Boulevard
Dallas, TX, 75019

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney, whose
name and address are:

Samuel E. Griffith
740 Cedar Leaf Circle
Lake Dallas, Texas 75065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
   

Case 3:20-cv-03455-G-BN Document 3 Filed 11/20/20 Page11of11 PagelD 15
AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Northern _ District of Texas

Samuel E. Griffith

 

Plaintiff

Vv Civil Action No.

CINEPOLIS USA, INC.,
BRINKER ITERNATIONAL,
INC., ET AL

 

Defendant

SUMMONS IN A CIVIL ACTION

To:

Cinepolis USA, Inc.
14951 Dallas Parkwa
Ste. 300. Dallas, TX, 75254

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Samuel E. Griffith
740 Cedar Leaf Circle
Lake Dallas, Texas 75065

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
